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                                     IN THE UNITED STATES BANUPTCY COURT

                                                FOR THE DISTRICT OF DELAWAR

In re:                                                                     )              Chapter 11
                                                                           )
W. R. GRACE & CO., et al., i                                               )              Case No. 01-1139 (JK)
                                                                           )              Jointly Administered
                                         Debtors.                          )



                                                      CERTIFICATE OF SERVICE

                           I, Timothy P. Cairns, hereby certify that on the 15th day of                          May 2008, I caused a

true and correct copy of                  the following documents to be served on the individuals on the attached

service list in the maner indicated herein:

                           NOTICE OF QUARTERLY VERIFIED FEE APPLICATION OF
                           CASNER & EDWARS, LLP FOR COMPENSATION FOR
                           SERVICES AND REIMBURSEMENT OF EXPENSES AS SPECIAL
                           LITIGATION COUNSEL TO W.R. GRACE & CO., ET AL., FOR
                           THE TWENTY-EIGHTH INTERIM PERIOD FROM JANUARY 1,
                           2008 THROUGH MARCH 31, 2008; and




1 The Debtors consist of the foIlowing 62 entities: W. R. Grace & Co. (fJa Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (fJa
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (fJa Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Parters I, Inc. (fJa Grace Cocoa Limited Parters I, Inc.), G C Management, Inc. (fJa Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinar Systems, Inc., Grace
Drillng Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (fJa Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Taron Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (fJa GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (fJa Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (fJa Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (fJa British Nursing Association,
Inc.), Remedium Group, Inc. (fJa Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parters (fJa Cross
Countr Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.




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                         QUARTERLY VERIFIED FEE APPLICATION OF CASNER &
                         EDWARS, LLP FOR COMPENSATION FOR SERVICES AND
                         REIMBURSEMENT OF EXPENSES AS SPECIAL LITIGATION
                         COUNSEL TO W.R. GRACE & CO., ET AL., FOR THE TWENTY-
                         EIGHTH INTERIM PERIOD FROM JANUARY 1, 2008
                         THROUGH MARCH 31, 2008.


                                                         Ç~NL
                                                Timothy P. Cairns (Bar No. 4228)




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Grace Fee Application Service List
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